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                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE WESTERN DISTRICT OF TEXAS
                                   SAN ANTONIO DIVISION

MICHAEL J. DANIELS, et al.                                 §
  Plaintiffs                                               §
                                                           §
V.                                                         §     Cause No. SA-19-CA-01280-FB
                                                           §
AETC II PRIVATIZED HOUSING, LLC, ET AL.                    §
  Defendants                                               §


               PLAINTIFFS’ RESPONSE TO DEFENDANTS’ OPPOSED MOTION FOR LEAVE
                               TO FILE DOCUMENTS UNDER SEAL


          Plaintiffs file this Response to Defendants’ Opposed Motion (“Motion”) for Leave to File

Documents Under Seal [Dkt. #268] (the “Response”), requesting that the Court deny the Motion

for two reasons, and respectfully show the Court as follows:

     I.        Defendants seek to seal contractual agreements that are already redacted.

          1.      By their Motion, Defendants seek to file under seal certain of their contractual

agreements with the United States of America, purportedly to preserve confidential, trade-secret

information. However, the contractual agreements that are the subject of the Motion are, in fact,

already redacted to exclude information that Defendants have previously determined is

confidential and/or trade-secret information. 1 Defendants do not argue that the entirety of the

contractual agreements are confidential, trade-secret documents, and any such argument is

disingenuous since Defendants claim to be entitled to governmental immunity based on the

contractual agreements. In a free and open system, such as that of the United States of America




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 Plaintiffs’ Response leaves for later the argument, to be made at the appropriate procedural juncture, the impropriety
of the redactions, which prevent Plaintiffs’ counsel and the Court from assessing whether redacted sections of the
contractual agreements are germane to the issue of governmental immunity or are confidential business terms.


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and its open courts, a private business cannot act under cloak of governmental authority and

immunity while hiding the documents that purportedly create such immunity from public view.

    II.        Defendants have not overcome the presumption in favor of the public’s access to
               judicial records.

    2.            “Publicity is the very soul of justice.” 2 It is well settled in this country, “[t]he

public’s right of access to judicial proceedings is fundamental.” Binh Hoa Le v. Exeter Fin. Corp.,

990 F.3d 410, 418 (5th Cir. 2021) (analyzing whether documents that the parties themselves

labeled as confidential should be sealed from public view). The court in Binh Hoa Le stated that

courts should be ungenerous with the discretion to seal records and gave three reasons judges must

protect public accessibility, “(1) the public has a right to monitor the exercise of judicial authority;

(2) judges are the primary representatives of the public interest in the judicial process; and (3) the

judiciary’s institutional legitimacy depends on public trust.” See id. The Binh Hoa Le court used

two standards to determine whether to seal judicial records from public view. See id. First, a

“good cause” standard applies with respect to protective orders that allow for the sealing of

documents produced in discovery. Second, a stricter test applies when a document is filed in a

case and becomes part of the judicial record, given the public’s interest in knowing what

documents have been filed in a case that is part of an open court system. See id. Under both

standards, there exists a presumption that it is in the public’s interest to not seal documents used

in litigation. Id. at 19.

    3.            Defendants have not shown “good cause” to deny the public access to the

documents they wish to file under seal. In one breath, Defendants argue they are entitled to

immunity as government actors, and in the next breath seek protection of their agreements with



2
  Jeremy Bentham, Draught for the Organization of Judicial Establishments, in vol. 4, The Works of Jeremy Benthan
(John Bowring ed., Edinburgh, William Tait, 1838-43).

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the government from public view. Defendants’ argument is not only hypocritical, but also has no

basis in law. If Defendants contend they act under the color of the government, the Court should

not permit the sealing of documents that purportedly cloak Defendants with governmental

immunity for their private interests. Permitting Defendants to keep such documents under lock and

key is harmful because it denies the public the right to monitor the exercise of governmental

conduct and judicial authority and weakens public trust in the judicial system. In a case regarding

military housing provided to servicemembers charged with the protection of the United States of

America, provided by a private company, the public interest in monitoring the applicable

agreements outweighs Defendants’ private interest in hiding their contracts with the U.S.

Government. Servicemembers and their families continue living in Defendants’ housing today

and will do so for the foreseeable future, and their rights in knowing what the U.S. Government

has subjected them to is a matter of paramount public concern 3. Defendants should not be

permitted to continue to operate in secrecy.

                                                   PRAYER

         WHEREFORE, Plaintiffs respectfully request that the Court deny Defendants’ Motion for

Leave to File Documents Under Seal and grant Plaintiffs such other and further relief, at law or in

equity, as the Court deems to be just, proper, and equitable.


                                                    Respectfully submitted,

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    This is evidenced by continued public hearings before the U.S. Congress.                               See
https://www.hsgac.senate.gov/subcommittees/investigations/hearings/mistreatment-of-military-families-in-
privatized-housing

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                             CERTIFICATE OF SERVICE


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       I hereby certify that on this the 20th day of July, 2022, a true and correct copy of the
foregoing document was filed with the Court’s ECF system and was served via electronic mail on
counsel for Defendants.

                                                   /s/ Ryan C. Reed
                                                   Ryan C. Reed




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